219 F.2d 238
    104 U.S.P.Q. 222
    BLISSCRAFT, also known as and doing business as Blisscraftof Hollywood, Charles O. Bliss, Beatrice Bliss andWalter Muller, Plaintiffs,v.RONA PLASTIC CORPORATION, Defendant.
    No. 118, Docket 23253.
    United States Court of Appeals, Second Circuit.
    Argued Jan. 7, 1955.Decided Feb. 2, 1955.
    
      Levisohn, Niner &amp; Cohen, New York City, Harry Cohen, Edwin Levisohn and Reuben Spencer, New York City, of counsel, for appellants.
      H. C. Bierman, New York City, for appellee.
      Before SWAN and MEDINA, Circuit Judges, and DIMOCK, District Judge.
      PER CURIAM.
    
    
      1
      The commercial embodiment of the design patent in suit is a plastic butter dish.  Prior to patenting the design the patentee examined all the butter dishes on the market and hit upon a slightly different shape which his wife said had 'appeal'.  The purchasing public apparently agreed with her, for the plaintiffs have sold more than 4,000,000 of such dishes since they began to manufacture the article in 1948.  Judge Noonan ruled the patent, if valid, was infringed, but held it invalid for lack on invention.  We agree.
    
    
      2
      The judgment is affirmed on the opinion of the district court, 123 F.Supp. 552.
    
    